           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION

ADRIANA NOVOA, SAMUEL
RECHEK, and the FIRST
AMENDMENT FORUM AT
UNIVERSITY OF SOUTH FLORIDA,

           Plaintiffs,                        Civil Action No.:
                                              ___________
     v.

MANNY DIAZ, JR., in his official           VERIFIED COMPLAINT
capacity as the Commissioner of the       FOR DECLARATORY AND
Florida State Board of Education;           INJUNCTIVE RELIEF
TIMOTHY M. CERIO, RICHARD
CORCORAN, AUBREY EDGE,
PATRICIA FROST, NIMNA
GABADAGE, EDWARD HADDOCK,
KEN JONES, DARLENE LUCCIO
JORDAN, BRIAN LAMB, ALAN
LEVINE, CHARLES H. LYDECKER,
CRAIG MATEER, DEANNA
MICHAEL, STEVEN M. SCOTT, ERIC
SILAGY, and KENT STERMON in
their official capacities as members of
the Florida Board of Governors of the
State University System; JULIE
LEFTHERIS in her official capacity as
the Inspector General of the Florida
Board of Governors of the State
University System; THE
UNIVERSITY OF SOUTH FLORIDA
BOARD OF TRUSTEES; and
TIMOTHY L. BOAZ, SANDRA
CALLAHAN, MICHAEL CARRERE,
N. ROGAN DONELLY, MICHAEL E.
GRIFFIN, OSCAR HORTON,
LAURAN MONBARREN, NITHIN
PALYAM, SHILEN PATEL,
FREDRICK PICCOLO, MELISSA
SEIXAS, JENIFER JASINSKI
SCHNEIDER, and WILLIAM
WEATHERFORD in their official
capacities as members of the
University of South Florida Board of
Trustees,

           Defendants.


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                              INTRODUCTION

       1.   Plaintiffs—a professor of history, an undergraduate student,

and a student organization founded to foster the free exchange of ideas on

campus—bring this constitutional challenge to the higher education

provisions of Florida’s “Stop WOKE Act.”1

       2.   In flagrant disregard of our Supreme Court’s admonition that

academic freedom in higher education is a “special concern” of the First

Amendment, the Stop WOKE Act prohibits “instruction” on eight specific

“concepts” related to “race, color, national origin, or sex.” Fla. Stat.

§ 1000.05(4)(a). In a clause that has engendered much confusion, the law

then vaguely purports to allow instruction on those blacklisted topics if it is

given in “an objective manner without endorsement.”

       3.   Worse, the Stop Woke Act’s enforcement provisions encourage

anyone to report individuals “advancing” opinions on the blacklisted topics

to state authorities and defunds institutions if a violation is deemed to have

occurred.




   1 Although introduced in the legislature as the “Individual
Freedom” law, the law’s proponents have publicly branded it as the
“Stop the Wrongs to Our Kids and Employees (W.O.K.E.) Act.”
Plaintiffs refer to it using the name identified by its proponents and
recognized by the public: the “Stop WOKE Act.”


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      4.    In dictating to faculty and students what ideas are true and

false, Florida runs headlong into the Bill of Rights. More than a half-

century ago, the Supreme Court of the United States recognized that the

First Amendment “does not tolerate laws that cast a pall of orthodoxy over

the classroom,” where “truth” is discovered not by “authoritative selection,”

but “out of a multitude of tongues.” Keyishian v. Bd. of Regents, 385 U.S.

589, 603 (1967) (cleaned up). This is because professor and student alike

“must always remain free to inquire, to study and to evaluate, to gain new

maturity and understanding; otherwise, our civilization will stagnate and

die.” Keyishian, 385 U.S. at 603 (quoting, in part, Sweezy v. New

Hampshire, 354 U.S. 234, 250 (1957)). But today, Florida’s “Stop WOKE”

clampdown imposes precisely the “pall of orthodoxy” that the Supreme

Court warned about decades ago. Id.

      5.    In addition to the First Amendment’s strong medicine against

state orthodoxy, the Stop WOKE Act is also irreconcilable with a law Florida

adopted just one year earlier—the Campus Free Expression Act. That law

obligates public universities to refrain from “shield[ing] students” from

“access to, or observation of, ideas and opinions”—expressly including

“faculty research, lectures, writings, and commentary”—on the basis that




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the ideas may be “uncomfortable, unwelcome, disagreeable, or offensive.”

Fla. Stat. § 1004.097(2)(f), (3)(a), (3)(f).

      6.     Plaintiffs bring this lawsuit to vindicate the constitutional and

statutory rights of faculty and students in college classrooms to engage in

debate uninhibited by state orthodoxy.

                       JURISDICTION AND VENUE

      7.     This action arises under the First and Fourteenth Amendments

to the United States Constitution; 42 U.S.C. §§ 1983 and 1988; and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201–02. Accordingly, this Court

has jurisdiction over the federal claims under 28 U.S.C. §§ 1331 and 1343.

      8.     Additionally, this Court has supplemental jurisdiction over the

claims alleged in the Sixth Cause of Action for violation of the Campus Free

Expression Act, Fla. Stat. § 1004.097(4)(a). These state law claims are so

related to the federal claims that they form part of the same case or

controversy. See 28 U.S.C. § 1367(a).

      9.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(2)

because a substantial part of the events giving rise to the claim occurred in

this district.




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                               THE PARTIES

Plaintiffs

       10.   Plaintiff Adriana Novoa grew up under a dictatorship in

Argentina before immigrating to the United States. Professor Novoa is an

associate professor of history at the University of South Florida (USF),

where she has taught as a professor since 2001.

       11.   Professor Novoa teaches several undergraduate courses at USF,

including Science in Cultural Context, History of Sports from

National to Global Contexts, and Modern Latin America.

       12.   Professor Novoa’s instruction in each of these three courses

(and others) involves “advancing” concepts prohibited by the Stop Woke

Act.

       13.   The Stop WOKE Act has had (and will continue to have) a

chilling effect on Professor Novoa. The first moment she endorses a

prohibited viewpoint or advances a student’s argument on a prohibited

concept—which she has done before and intends to do this academic year—

she will expose herself to disciplinary action and liability for attorney’s fees

and will expose her university to the loss of approximately $73 million in

annual funding.




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     14.    Plaintiff Samuel Rechek is an undergraduate student enrolled at

USF. Rechek will take Professor Novoa’s Science in Cultural Context in

the Spring 2023 semester, which covers the Stop WOKE Act’s prohibited

concepts.

     15.    In class, he desires to engage in debate with Professor Novoa

and his fellow students on the Stop WOKE Act’s prohibited concepts.

     16.    Rechek is also the president of Plaintiff First Amendment

Forum at University of South Florida, which has been a registered student

organization at USF since 2020. The organization’s mission is to ensure

that “[e]ach student has the right to speak their mind,” recognizing that

“[o]n a large and diverse campus, the academic value of the First

Amendment . . . cannot be understated.” The group has “civil discussions

about hot-button issues, advocate[s] for student rights policy reform,

host[s] events and workshops to involve the student body with their rights,

and help[s] cultivate a community that embraces the merit of the First

Amendment.” The organization has five members on its executive

committee, each an undergraduate student enrolled at USF.

     17.    The Stop WOKE Act’s prohibitions also deprive Rechek and

other members of the First Amendment Forum of access to education free

from the “pall of orthodoxy” imposed by Florida’s political leaders.



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Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967). That limitation

limits students’ ability to hear from—and chills students’ willingness to ask

questions of—faculty whose views may be contrary to those of the State of

Florida. Rechek and the First Amendment Forum sue to preserve students’

right to information unfiltered by state orthodoxy.

Defendants

      18.   Defendant Manny Diaz, Jr. was a principal sponsor of the Stop

WOKE Act when he served previously as a member of the Florida Senate.

Currently, he serves as the Commissioner of the Department of Education.

As Commissioner, Diaz has oversight over the Chancellor of the Florida

College System. By statute, Defendant Diaz, as the Commissioner of

Education, is also a member of the Florida Board of Governors of the State

University System. Fla. Stat. § 1001.70(1). Defendant Diaz is sued only in

his official capacities as the Commissioner of the Department of Education

and as a member of the Board of Governors.

      19.   The Board of Governors is endowed with the responsibility to

govern the state university system and has the authority to adopt rules for

implementing and enforcing the Stop WOKE Act. Fla. Const. art. IX § 7(b);

Fla. Stat. §§ 20.155(4)(a), 1000.05(6)(b).




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      20.   The Board of Governors has the additional authority to revoke

tens of millions of dollars in annual funding if it finds that a violation of the

Stop WOKE Act has occurred at a constituent university. Fla. Stat.

§ 1001.92(5).

      21.   The Board of Governors is headquartered in Tallahassee,

Florida.

      22.   Fourteen of the seventeen members of the Board of Governors

are appointed by the Governor of Florida.

      23.   Defendant Brian Lamb is a member and officer of the Board of

Governors, serving as its Chair. In that capacity, Lamb presides over

meetings of the Board of Governors and exercises all of the “powers and

duties that inure to the office of Chair of a body corporate.” Bd. of Govs. Op.

Procedures, Art. IV, § D. Defendant Lamb is sued only in his official

capacity.

      24.   Defendant Eric Silagy is a member and officer of the Board of

Governors, serving as its Vice Chair. In that capacity, Silagy possesses “the

same power and authority in the absence or disability of the Chair.” Bd. of

Govs. Op. Procedures, Art. IV, § E. Defendant Silagy is sued only in his

official capacity.




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      25.   Defendants Timothy M. Cerio, Richard Corcoran, Aubrey Edge,

Patricia Frost, Nimna Gabadage, Edward Haddock, Ken Jones, Darlene

Luccio Jordan, Alan Levine, Charles H. Lydecker, Craig Mateer, Deanna

Michael, Steven M. Scott, and Kent Stermon are the remaining members of

the Board of Governors. They are sued only in their official capacities.

      26.   Defendant Julie Leftheris is the Inspector General of the Board

of Governors. Under the Board of Governors’ regulations implementing the

Stop WOKE Act, the Office of Inspector General is required to conduct

investigations into universities’ compliance with the Stop WOKE Act. Bd. of

Govs. Reg. No. 10.005(4)(a), (b). Defendant Leftheris is sued only in her

official capacity.

      27.   Defendant The University of South Florida Board of Trustees is

a corporate body established by the State of Florida with the capacity to be

sued. See Fla. Stat. §§ 1001.72(1), 1004.097(4).

      28.   The University of South Florida Board of Trustees sets policy

for and serves as the legal owner and final authority for the University of

South Florida. Univ. of S. Fla. Bd. of Trs. Op. Procedures, Art. I, § (D).

      29.   Defendants Timothy L. Boaz, Sandra Callahan, Michael Carrere,

N. Rogan Donelly, Michael E. Griffin, Oscar Horton, Lauran Monbarren,

Nithin Palyam, Shilen Patel, Fredrick Piccolo, Melissa Seixas, Jenifer



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Jasinski Schneider, and William Weatherford are members of the USF

Board of Trustees. They are sued only in their official capacities.

       30.   At all relevant times to the Complaint, Defendants and their

agents were, and are, acting under color of state law.

                        FACTUAL ALLEGATIONS

       31.   “Recently, Florida has seemed like a First Amendment upside

down.” Honeyfund.com, Inc. v. DeSantis, No. 4:22-cv-227, 2022 WL

3486962, at *1 (N.D. Fla. Aug. 18, 2022). In 2021, Florida amended the

Campus Free Expression Act to bolster the rights of students and faculty

under the First Amendment. Fla. Stat. § 1004.097. One year later, Florida

would blatantly endorse censorship on campus by passing the Stop WOKE

Act.

I.     Despite Florida’s Statutory Commitment to Free Expression
       on Campus, It Passes Law Banning “Instruction” on
       Specific Viewpoints in Higher Education.

       A.    The Campus Free Expression Act Protects Access to
             Information.

       32.   The Campus Free Expression Act obligates public universities

and colleges to refrain from “shield[ing] students” from “access to, or

observation of, ideas and opinions”—expressly including “faculty research,

lectures, writings, and commentary”—on the basis that the ideas may be




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“uncomfortable, unwelcome, disagreeable, or offensive.” Fla. Stat.

§ 1004.097(2)(f), (3)(a), (3)(f).

      33.   In adopting the Campus Free Expression Act, Florida

recognized—as does the First Amendment—that students have a right to

access ideas, opinions, and concepts unhampered by orthodoxy.

      34.   Despite recognizing the need to affirm the importance of free

and robust debate on campus in 2018, Florida legislators in 2021 moved to

strip the right to free speech on campus away.

      B.    Lawmakers Nationwide Move to Suppress “Divisive
            Concepts.”

      35.   Between 2021 and 2022, lawmakers in at least 36 states

introduced some 191 bills restricting discussion of race, gender, sexuality,

and American history in public schools, universities, and colleges.

      36.   These bills were overwhelmingly partisan: Of the 137 bills

introduced in 2022, only one had attracted a single Democratic co-sponsor.

      37.   These proposals were patterned after a federal Executive Order

on “Combatting Race and Sex Stereotyping,” which banned nine “divisive

concepts,” or viewpoints, from government-contractor trainings. Exec.

Order No. 13950, 85 Fed. Reg. 60683 (Sept. 22, 2020).

      38.   President Trump issued Executive Order 13950 on September

22, 2020, in response to “people . . . pushing a different vision of America,”


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a “destructive ideology . . . grounded in misrepresentations of our country’s

history.” Id.

       39.   Although a federal court issued a nationwide injunction

enjoining enforcement of Executive Order 13950 on the grounds that it

unconstitutionally restricted speech,2 Florida proceeded to introduce its

own version of the law banning nearly identical viewpoints in public

educational institutions from kindergarten through graduate education.

       C.    Florida Political Leaders Introduce the “Stop WOKE
             Act” Following K–12 Ban.

       40.   In June 2021, at the request of Gov. Ron DeSantis, Florida’s

Department of Education adopted a provision prohibiting teaching that is

not “factual and objective,” seeks to “suppress or distort significant

historical events,” or “define[s] American history as something other than

the creation of a new nation based largely on the universal principles stated

in the Declaration of Independence.” FLA. ADMIN. CODE 6A-1.094124(3)(b).

       41.   In a speech promoting the effort, Defendant Corcoran said

textbook “publishers are just infested with liberals” and his goal was to

“keep all the crazy liberal stuff out.”




   2  Santa Cruz Lesbian & Gay Cmty. Ctr. v. Trump, 508 F. Supp. 3d
521, 540–50 (N.D. Cal. 2020).


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      42.   In December 2021, Gov. DeSantis held a press conference and

issued a press release announcing the Stop WOKE Act. The press release

described the Act as a “legislative proposal . . . to fight back against woke

indoctrination” that “builds on actions Governor DeSantis has already

taken to ban Critical Race Theory and the New York Times’ 1619 Project in

Florida’s schools.”

      43.   Gov. DeSantis’s press release was accompanied by a handout

promising “CONSEQUENCES” in the form of a “private right of action.”

      D.    The Stop WOKE Act Expands Florida’s Discrimination
            Law to Ban Viewpoints.

      44.   The Stop WOKE Act amended the Florida Educational Equity

Act (FEEA), which prohibits public universities and colleges from

subjecting students to discrimination in an “education program or activity”

on the basis of certain characteristics, including race, color, national origin,

or sex. Fla. Stat. § 1000.05.

      45.   The STOP Woke Act expands the FEEA by creating a new

category of purported “discrimination”—“instruction” in a public university

or college that “espouses, promotes, advances, inculcates, or compels” a

student “to believe” any viewpoint contained on an enumerated blacklist.

Fla. Stat. § 1000.05(4)(a).




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      46.     The Stop WOKE Act does not provide a definition for

“instruction.”

      47.     The Stop WOKE Act does not provide a definition for

“espouses.”

      48.     Ordinary definitions of “espouse” include “to take up and

support as a cause.”

      49.     The Stop WOKE Act does not provide a definition for

“promotes.”

      50.     Ordinary definitions of “promote” include “to contribute to the

growth or prosperity of” or to “further.”

      51.     The Stop WOKE Act does not provide a definition for

“advances.”

      52.     Ordinary definitions of “advance” include “to bring forward for

notice, consideration, or acceptance,” to “propose,” and “to accelerate the

growth or progress of.”

      53.     The Stop WOKE Act does not provide a definition for

“inculcates.”

      54.     Ordinary definitions of “inculcate” include “to teach.”

      55.     At present, the STOP Woke Act prohibits the following

viewpoints:



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       1) Members of one race, color, national origin, or sex are
          morally superior to members of another race, color, national
          origin, or sex;

       2) A person, by virtue of his or her race, color, national origin,
          or sex is inherently racist, sexist, or oppressive, whether
          consciously or unconsciously;

       3) A person’s moral character or status as either privileged or
          oppressed is necessarily determined by his or her race, color,
          national origin, or sex;

       4) Members of one race, color, national origin, or sex cannot
          and should not attempt to treat others without respect to
          race, color, national origin, or sex;

       5) A person, by virtue of his or her race, color, national origin,
          or sex bears responsibility for, or should be discriminated
          against or receive adverse treatment because of, actions
          committed in the past by other members of the same race,
          color, national origin, or sex;

       6) A person, by virtue of his or her race, color, national origin,
          or sex should be discriminated against or receive adverse
          treatment to achieve diversity, equity, or inclusion;

       7) A person, by virtue of his or her race, color, sex, or national
          origin, bears personal responsibility for and must feel guilt,
          anguish, or other forms of psychological distress because of
          actions, in which the person played no part, committed in
          the past by other members of the same race, color, national
          origin, or sex; or

       8) Such virtues as merit, excellence, hard work, fairness,
          neutrality, objectivity, and racial colorblindness are racist or
          sexist, or were created by members of a particular race,
          color, national origin, or sex to oppress members of another
          race, color, national origin, or sex.

Fla. Stat. § 1000.05(4)(a)(1)-(8).


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      56.    The “concepts” prohibited by the Stop WOKE Act are nearly

identical to those banned by President Trump’s Executive Order.

      57.    Far from regulating discriminatory conduct, the Stop WOKE

Act bans expression of specific viewpoints, much like Executive Order

13950.

      58.    Although the Stop WOKE Act purports to include a limitation

on the reach of the viewpoint-based categories, stating that the statute is

“not to be construed to prohibit discussion of the concepts . . . as part of a

larger course of training or instruction,” if the “instruction is given in an

objective manner without endorsement of the concepts,” the Act fails to

define “objective manner” or “endorsement.” Fla. Stat. § 1000.05(4)(b).

      59.    This language does not significantly narrow the enormous scope

of the statute or limit its censorial effect.

      60.    “[F]ew terms are as loaded and contested as ‘objective.’”

Honeyfund.com, Inc. v. DeSantis, No. 4:22-cv-227, 2022 WL 3486962, at

*13 (N.D. Fla. Aug. 18, 2022).

      61.    The Stop WOKE Act does not provide a definition for the

ambiguous term “objective manner.” The provision is intended to prohibit

faculty from including their “emotions,” “beliefs,” “opinions,” or “points of




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view” when discussing any material, content, or lectures that could be read

to “advance” or “promote” a prohibited concept.

      62.    The Stop WOKE Act also fails to define “endorsement of the

concepts.”

      63.    The sponsors of the bill have interpreted the “endorsement”

clause to, among other things:

             (a)   Prohibit faculty members from sharing their own views
                   about a given concept;

             (b)   Prohibit faculty from taking a feigned, “devil’s advocate”
                   position to spur discussion;

             (c)   Require faculty to censor guest lecturers whose views
                   might be interpreted as supporting a banned concept; and

             (d)   Prohibit the introduction of textbooks, articles, videos, or
                   other materials that argue in favor of a prohibited
                   concept.

      64.    University administrations tasked with interpreting and

enforcing the Stop WOKE Act have similarly struggled to define “objective”

or “endorsement”.

      65.    Consequently, educators in Florida, including Professor Novoa,

have reasonably refrained—and will continue to refrain—from teaching

prohibited subjects out of fear of violating the Stop WOKE Act.

      66.    House Bill 7 (HB 7)—the bill creating the Stop WOKE Act—

asserts that the bill contains “legislative findings” in support of the law.



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      67.      HB 7 contains no “legislative findings” pertaining to higher

education, much less findings that would substantiate a need for or identify

the purpose of the Stop WOKE Act. A copy of HB 7 is attached as Exhibit 1

to this Complaint.

      68.      The Stop WOKE Act does not contain a savings clause under the

First Amendment, like that applied to other provisions of the FEEA. See

Fla. Stat. § 1000.05(8)(c) (pertaining to definitions of anti-Semitism, such

as “a certain perception of the Jewish people, which may be expressed as

hatred[.]”).

      69.      On its face, the Stop WOKE Act even prohibits commentary

concerning the wisdom or constitutionality of the law itself, since such

statements could be viewed as subjective endorsement or advocacy for the

racial and social concepts censored by the Act.

      E.       The Stop WOKE Act’s Sponsors Explain Its Intent:
               Eradicate Ideology, Personal Beliefs, or Materials
               Offering “Unique Perspectives.”

      70.      Florida’s legislature held four committee hearings on the Stop

WOKE Act and substantively discussed the bill on four separate occasions

on the House and Senate floors.




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       71.   Before the committee votes and the House votes on the Stop

WOKE Act, Representative Avila explained the intent and meaning of the

legislation and answered other members’ questions.

       72.   Rep. Avila explained the general purpose of the Stop WOKE

Act:

             (a)   Preventing instructors from offering “any sort of ideology
                   or personal beliefs when presenting” materials, or
                   otherwise “insert[ing] their opinion, or their belief, or
                   their take on” events such as the Holocaust or slavery.

             (b)   Ensuring that no student “feels uncomfortable because
                   they feel that the instructor is not being objective.”

             (c)   “[E]nsur[ing] that absolutely no student feels as if they
                   are being blamed for something that occurred in our
                   nation’s history [or] a sense of guilt because they’re a part
                   of a particular group, race or sex.”

             (d)   Allowing educators to “teach any subject area they choose
                   in a way that upholds the American belief that all people
                   are created equally.”

       73.   Asked to identify specific examples of what the Stop WOKE Act

would “eradicate or accomplish,” Rep. Avila identified:

             (a)   A discussion in which participants “discuss their
                   ‘privilege’”;

             (b)   A training program that argued that “America is a system
                   of white supremacy”;

             (c)   A training arguing that “capitalism is fundamentally
                   racist” and asking participants to “deconstruct their racial
                   and sexual identities and then rank themselves on a
                   hierarchy of ‘privilege’”;


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           (d)   Specific books, articles, and a video concerning race,
                 which Rep. Avila said were “obviously egregious and
                 obviously extremely offensive” materials the Stop WOKE
                 Act was intended to address:

                 i.     Adam Serwer, America’s Racial Contract Is Killing
                        Us, The Atlantic, May 8, 2020, available at
                        https://bit.ly/3wAEgjJ;

                 ii.    Peggy McIntosh, White Privilege: Unpacking the
                        Invisible Knapsack, Peace & Freedom Mag.,
                        July/Aug. 1989 at pp.10–12, available at
                        https://bit.ly/38waXqz;

                 iii.   Layla Saad, Me and White Supremacy: Combat
                        Racism, Change the World, and Become a Good
                        Ancestor;

                 iv.    Robin DiAngelo, White Fragility: Why It’s So Hard
                        for White People to Talk About Racism; and
                 v.     A video pertaining to anti-racism.

     74.   During the hearings and Floor debate, Rep. Avila repeatedly

explained that the Stop WOKE Act reached both in-class statements and

the materials presented:

           (a)   In his prepared remarks during the second reading of the
                 bill, Rep. Avila explained: “Teachers may teach any
                 subject area they choose in a way that upholds the
                 American belief that all people are created equally, using
                 education materials consistent with this shared value.”

           (b)   Rep. Avila was asked about whether the “specific
                 assignments” of “materials” staking out a particular view
                 to facilitate classroom discussion of those would violate
                 the Stop WOKE Act. Rep. Avila responded: “All material
                 has to be in line with the principles that are set forth in
                 this bill and if that material in any way, shape, or form
                 does not align with the principles in this bill, then that

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                  material would certainly not be permissible within a
                  classroom.”

            (c)   Rep. Avila explained that under the Stop WOKE Act,
                  teachers could not introduce materials offering “unique
                  perspectives” on history and should instead “stick to those
                  core American principles that really are the bedrock of
                  our society.”

      75.   During the hearings and Floor debate, Rep. Avila repeatedly

explained that the intent of the “objective manner without endorsement of

the concepts” language was to prevent educators from making their

personal views known to students. Rep. Avila explained that it was intended

to “ensure that a teacher does not,” in class discussions; “insert their

personal belief or take”; “inject any sort of ideology or personal beliefs”;

“insert[] their opinion, or their belief, or their take on” historic events; or

“inject” their “personal point of view into the discussion.”

      76.   As a state senator and sponsor of the Stop WOKE Act,

Defendant Diaz, speaking in support of his bill during his closing speech

before the Florida Senate, echoed Rep. Avila, arguing that students “should

never know” an instructor’s “politics” and “never know where [they] stand

on those issues.” Defendant Diaz made the same point during debate on the

Senate Floor, arguing that “students should not know your perspective or

your point of view on a specific thing,” as that would “impose your personal

view on a student.”


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      77.   During the March 1, 2022 hearing of the Senate Rules

Committee, Defendant Diaz—then a state senator and sponsor of the Stop

WOKE Act—echoed Rep. Avila, arguing that “Students come to the school

with the values that are instilled by their families, and it is not for a teacher

or professor to change those views.”

      78.   After the Stop WOKE Act received a favorable vote by the

House Judiciary Committee on January 26, 2022, Speaker Chris Sprowls

issued a press release pledging that under the Stop WOKE Act, “lessons and

textbooks” would have to “uphold the shared principles of individual

freedom and not indoctrinate students with a particular point of view.”

      79.   In a February 25, 2022 article written by Rep. Avila for the

Family Research Council, he wrote that the intent of the Stop WOKE Act

was to ensure that teachers do not teach “divisive ideologies.”

      80.   The Florida House of Representatives passed HB 7 in a strictly

party-line vote on February 24, 2022. The Florida Senate also passed the

bill in a strictly party-line vote on March 10, 2022.

      81.   Gov. DeSantis signed the bill into law on April 22, 2022. In a

contemporaneous speech, Gov. DeSantis said that the bill was intended to

prevent the “use [of] your tax dollars to teach our kids to hate this country

or to hate each other.”



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       82.   After advocacy groups criticized the law’s impact on higher

education, Gov. DeSantis’ spokesperson argued that the law sought to

prevent “indoctrinating students with CRT-inspired discriminatory

ideology.”

       F.    The Board of Governors Adopts Regulations
             Implementing the Stop WOKE Act.

       83.   On June 30, 2022, the Board of Governors issued a public

notice that it intended to adopt regulations implementing the Stop WOKE

Act.

       84.   On August 26, 2022, the Board of Governors adopted the

regulations without debate or amendment. A copy of the regulations is

attached as Exhibit 2 to this Complaint.

       85.   The regulations define “instruction,” which was not defined by

the Stop WOKE Act, to mean: “the process of teaching or engaging students

with content about a particular subject by a university employee or a person

authorized to provide instruction . . . within a course.” Bd. of Govs. Reg. No.

10.005(1)(c).

       86.   But the regulations, like the Stop WOKE Act, make no effort to

define “objective manner without endorsement.”




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      87.   The regulations require that each university adopt its own

regulations effectuating the Stop WOKE Act and establishing a method for

submitting complaints. Bd. of Govs. Reg. No. 10.005(2)(a).

      88.   The regulations do not require that a complainant be a student,

faculty, or employee of the institution. Consequently, complaints may be

made by any person, including members of the public with no connection

to the institution.

      89.   The regulations require that each university conduct

investigations into “credible complaints that identify . . . instruction that

espouses, promotes, advances, inculcates, or compels a student . . . to

believe any of the concepts.” Bd. of Govs. Reg. No. 10.005(3)(a).

      90.   If an “instruction . . . is inconsistent with university regulation,”

it must be reported to “the Board of Governors through the Office of the

Inspector General[,]” and the university must “take prompt action to

correct the violation by mandating” that the offending professor “modify”

their teaching “to be consistent” with the Stop WOKE Act. Bd. of Govs. Reg.

10.005(3)(c). The university, “where appropriate,” must issue “disciplinary

measures” and “remove, by termination if appropriate,” faculty members

who fail or refuse “to comply with the mandate.” Id.




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      91.   If a university fails to comply with these directives, the

Inspector General is required to initiate an investigation to determine

whether a university “failed to correct a violation[.]” Bd. of Govs. Reg. No.

10.005(4)(a).

      92.   If the members of the Board of Governors determine that the

corrective measures implemented by a university were not sufficiently

“appropriate,” the university will not be eligible for performance funding

during the next fiscal year. Bd. of Govs. Reg. No. 10.005(4)(d).

      93.   As a result, universities have a strong incentive to terminate

faculty members to ensure that the Board of Governors will determine that

the corrective measure was “appropriate.”

      G.    USF Ignores Constitutional Concerns and Issues ‘Stop
            WOKE’ Guidance to Faculty.

      94.   On April 22, 2022, the Foundation for Individual Rights and

Expression (FIRE) sent letters to each of Florida’s public institutions of

higher education, warning their leadership that the law was

unconstitutional and calling on them to refuse to enforce the law in

violation of the First Amendment rights of their faculty. FIRE did not

receive a response from USF.




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     95.   Instead, on July 1, 2022, the University of South Florida’s Office

of General Counsel issued “Initial Guidance” concerning the Stop WOKE

Act, before the Board of Governors issued its proposed regulations.

     96.   On August 30, 2022, following the Board of Governors’ final

adoption of regulations implementing the Stop WOKE Act, the University

of South Florida’s Office of General Counsel updated its guidance.

     97.   Each version of the USF Office of General Counsel guidance:

           (a)   Admits uncertainty about “how broadly” the Stop WOKE
                 Act must be interpreted;

           (b)   Acknowledges uncertainty about the “extent” to which
                 “discussing” the forbidden concepts will be “held to be
                 ‘endorsing’ those concepts”;

           (c)   Relies on dictionary definitions of “objectivity” to caution
                 that discussion of prohibited concepts, in order to be
                 “objective,” must be “uninfluenced by the instructor’s
                 emotions, and without the instructor showing subjective
                 favoritism, approval, or personal bias in favor of any of
                 those concepts”;

           (d)   Warns faculty that the law prohibits “urg[ing] a student to
                 believe a particular concept”;

           (e)   Urges faculty to add disclaimers to “class materials” that
                 discussions are “intended to be objective”; and

           (f)   Urges faculty to refrain from disclosing their own views
                 during discussions and, if students ask about their own
                 views, to respond: “my own conclusions and beliefs are
                 not part of the discussion.”




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       98.   On August 26, 2022, USF revised Policy USF10.200,

concerning personnel matters, to commit that USF “will comply with the

most current laws regarding” the Stop WOKE Act and directed

“[c]omplaints regarding possible violations of” the Stop WOKE Act to the

USF Office of Ethics and Compliance.

       99.   USF Policy USF0-007 requires administrators and faculty to

comply with Florida’s anti-discrimination law, including the Stop WOKE

Act.

       100. Under Policy USF0-007, all “members of the faculty” are

“supervisory employees” required to “promptly report . . . allegations,

reports, or instances of discrimination/harassment by . . . any USF

employee(s)” on pain of disciplinary action.

       101. As a result, all USF faculty members are required to report

colleagues to USF’s administration if they learn of mere “allegations” that

the faculty member has introduced a concept prohibited by the Stop WOKE

Act.

       102. On or about August 26, 2022, the USF Office of Ethics and

Compliance website was updated to admonish that “[s]tudents, staff, and

faculty are strongly encouraged to report discrimination . . . including




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violations of” the Stop WOKE Act—including “known or suspected”

violations—using a provided form.

     H.    Other Florida Universities and Colleges Issue
           Guidance on the Stop WOKE Act.

     103. The administrations of other Florida universities and colleges

also began distributing guidance to faculty members and students before

and after the Board of Governors issued its proposed regulations.

     104. North Florida College. On August 11, 2022, faculty at North

Florida College were required to attend a presentation by the college’s

attorney. The presentation warned faculty that:

           (a)   The Stop WOKE Act prohibits faculty members from
                 attempting to “persuade students to a particular
                 viewpoint inconsistent with” the law;

           (b)   Faculty cannot endorse “any opinion unless you are
                 endorsing an opinion issued by the Department of
                 Education”;

           (c)   The Stop WOKE Act requires that “no group . . . be
                 labeled as oppressors or oppressed based solely on the
                 group’s race, national origin, gender, or color”;

           (d)   “Classes in History, Sociology, and Law are the most likely
                 to be directly impacted by” the Stop WOKE Act;

           (e)   A faculty member teaching a class on U.S. History and
                 Jim Crow laws could not tell students the historical fact
                 that “white people were responsible for enacting” Jim
                 Crow laws;




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           (f)   Classroom and reading materials “including news articles,
                 movies, books, and other items may not meet the
                 requirements of” the Stop WOKE Act;

           (g)   While faculty are “still free to open a classroom for
                 discussion,” they should preface the discussion with a
                 disclaimer that “the opinions stated by your fellow
                 students do not reflect those of the College”; and

           (h)   Faculty teaching science, technology, engineering, and
                 mathematics classes should “avoid using race, national
                 origin, sex, or color as a defining characteristic in word
                 problems.”

     105. Florida A&M University. While the Stop WOKE Act was still

pending before the state legislature, Florida A&M’s Government Relations

team sent periodic updates to the campus community about the bill and

hearings on the bill. These updates indicate that the university interpreted

the Stop WOKE Act to “ban books and other supporting materials,” and

warned that the bill required that “instructional materials” be “consistent

with the principle of individual freedom.”

     106. On May 3, 2022, Florida A&M University’s Chief Compliance

and Ethics Officer distributed guidance intended to “support compliance”

with the Stop WOKE Act. That guidance cautioned that:

           (a)   the “objective manner” language required faculty to avoid
                 “indicat[ing] a preference for a particular concept”;

           (b)   “the University, or you personally, could face civil
                 litigation and financial penalties”; and




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            (c)   the university could be rendered ineligible for
                  performance-based funding.

      107. University of Florida. In May 2022, the University of Florida

issued preliminary guidance consisting of a video message from the

university’s president and a slideshow warning faculty that a violation of

the Stop WOKE Act could result in “large financial penalties.” UF’s

administration followed that guidance with a website providing

“recommendations about how to remain within the law’s requirements.”

UF’s guidance, among other things:

            (a)   Asserts that guest speakers in classes are subject to the
                  Stop WOKE Act;

            (b)   Directs faculty members to provide speakers with a copy
                  of the law and ask whether “their presentation and
                  materials are consistent” with the Stop WOKE Act;

            (c)   Directs faculty members to cancel guest speakers whose
                  presentations or materials are not consistent with the
                  Stop WOKE Act; and

            (d)   Commits to following the material provisions of the Board
                  of Governors’ proposed regulations, including the
                  requirements that offenses be reported to the Board of
                  Governors and that the university take disciplinary action
                  against faculty members “where appropriate.”

      108. St. Petersburg College. Training provided by an attorney in

advance of the 2022–2023 school year cautioned that the Stop WOKE Act

“does not limit who could be sued,” suggesting individual faculty members

may be exposed to legal liability for violating the law.


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      109. Florida State University. On July 29, 2022, FSU issued a

proposed regulation mirroring that of the Board of Governors. FSU also

warned that the law applies to “class content” including “assigned

materials”) and “guest lecturers or speakers brought in by” a faculty

member.

      110. Florida Polytechnic University. On August 15, 2022, FPU

issued guidance interpreting “objective manner and without endorsement”

to require that faculty lectures be “uninfluenced by the instructor’s

emotions[.]” FPU’s Vice Provost of Academic Affairs cautioned that faculty

members may discuss a prohibited concept so long as nobody “perceive[s]

they should feel guilty or responsible in some way.”

      111.   Valencia College. On July 28, 2022, Valencia College issued

guidance to its faculty. Like FSU, it warned that the law applies to “class

content” including “assigned materials.” The college warned that the Stop

WOKE Act’s use of double negatives rendered it “difficult to know what is

prohibited.” For example, the guidance surmised that the Act’s statement

that “[m]embers of one race, color, national origin, or sex cannot and

should not attempt to treat others without respect to race, color, national

origin, or sex” “appears to be about colorblindness,” and thus warned that




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any “critique of colorblindness or insistence on identity consciousness

could constitute discrimination.”

II.   Violating the Stop WOKE Act Risks Severe Penalties.

      112. A violation of the Stop WOKE Act creates significant legal

exposure to both the university as an institution and the instructor as a

private person.

      A.    Violations Risk Millions of Dollars in Annual
            Funding.

      113. After the Stop WOKE Act was introduced, the Florida

legislature adopted—and Gov. DeSantis signed—a separate enforcement

measure that provides: If a “court of law, a standing committee of the

Legislature, or the Board of Governors” determines that there has been any

“substantiated violation” of the Stop WOKE Act, the entity “shall be

ineligible to receive performance funding during the next fiscal year[.]” Fla.

Stat. § 1001.92(5) (emphasis added).

      114. Performance funding represents a significant part of the

amount of state funding received by USF each year. Since 2017–2018, USF

has received between $73,009,247 and $84,603,488 annually in

performance funding. These allocations represent approximately 15–22%

of the total state appropriations received by USF each year.




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      115. The Stop WOKE Act is violated upon the first introduction of

“instruction” that “espouses, promotes, [or] advances” student belief in any

one of the prohibited “concepts,” unless the training is (1) part of a larger

course of instruction which (2) is given in an objective manner without

endorsement of the concept.

      116. Under the Stop WOKE Act, the law may be violated upon the

first mention of one of the prohibited “concepts” in “instruction,” even if

the concept is not pervasive within the broader course of instruction or

offensive to any student, if the instruction is not given in an “objective”

manner or endorses the concept.

      117. Because a university will be ineligible for a substantial amount

of state funding if the Stop WOKE Act is violated and because the law is

violated on the first introduction of a prohibited concept, educational

institutions have a strong incentive to avoid offering courses in which a

faculty member or guest speaker might discuss the prohibited topics or

something even tangential to them.

      118. The Board of Governors’ proposed regulations would

compound this risk by rendering a university ineligible for performance

funding if its members subjectively deem a response to a violation of the




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Stop WOKE Act insufficiently “appropriate.” Bd. of Govs. Reg. No.

10.005(4)(d).

      119. As a result, universities have a strong incentive to discipline and

terminate any faculty member’s violation of the law in order to avoid a

response that the appointed members of the Board of Governors may see as

too weak to be “appropriate.”

      120. In addition to the possibility of action by the Board of

Governors, the standing committees of the Florida legislature are

authorized to make a “finding” that the Stop WOKE Act has been violated

and render the institution ineligible for performance funding. Fla. Stat.

§ 1001.92(5).

      121. Neither the Stop WOKE Act nor the provision authorizing

cutting of performance funding provide any guidance to the legislature’s

standing committees about the vague and confusing prohibitions in the

Stop WOKE Act.

      122. Nor are the standing committees bound by the Board of

Governors’ regulations.

      123. Neither the Stop WOKE Act nor Section 1001.92(5) require the

legislature’s standing committees to provide faculty members with an

opportunity to be heard before making a “finding” against their institutions.



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      124. Faculty members like Professor Novoa have a strong incentive

to avoid the risk of exposing their institutions to a loss of tens of millions of

dollars in revenue.

      B.    Faculty Members Said to Violate the Stop WOKE Act
            Are Subject to Discipline and Exposed to Litigation.

      125. In addition to the institutional consequences, violations of the

Stop WOKE Act expose faculty members to significant personal

consequences.

      126. Because faculty members accused of introducing prohibited

“instruction” are subject to a lawsuit under Fla. Stat. § 1000.05(9), even the

unintentional introduction of a prohibited viewpoint exposes faculty to the

cost, stress, and other burdens that come with defending against a lawsuit.

      127. Faculty members found by a state court to have violated the

ambiguous provisions of the Stop WOKE Act are exposed not only to the

cost of their own attorney’s fees, but may also be ordered to pay for the

plaintiff’s attorney’s fees under Fla. Stat. § 1000.05(9).

      128. Because of the possibility of losing substantial amounts of

funding, institutions have an incentive to impose professional sanctions on

—including termination of—on a faculty member for even incidental or

unintentional violations of the Stop WOKE Act.




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      129. Faculty members who are thought to have introduced written

materials containing prohibited concepts or are suspected of having

discussed prohibited concepts in their courses, risk an investigation and

finding by a legislative committee that they have violated the law.

      130. Because a violation of the Stop WOKE Act occurs on the first

introduction of prohibited “instruction,” no matter how brief or incidental,

the weight of potential consequences will—as intended—result in self-

censorship.

      131. To put it starkly, under the Stop WOKE Act and its enforcement

provisions, faculty members can cost their institutions tens of millions of

dollars with two words in response to a student’s expression of a prohibited

viewpoint: “I agree.”

      C.      The Stop WOKE Act’s Ambiguous Application to
              “Instruction” Chills Introduction of Written Materials
              and Guest Speakers.

      132. The Stop WOKE Act’s uncertain and ambiguous application to

“instruction” is now chilling and will continue to chill faculty members’

willingness to continue using written materials or guest speakers that may

be perceived as endorsing a prohibited viewpoint.




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     133. Universities and colleges offering authoritative guidance to

faculty members have cautioned that written materials and guest speakers

may themselves violate the Stop WOKE Act.

     134. One such institution went so far as to enlist faculty members in

censoring guest speakers if the speaker’s lecture would endorse a viewpoint

prohibited by the Stop WOKE Act.

     135. These institutions’ authoritative interpretations are consistent

with the express intent of the sponsors of the Stop WOKE Act—voiced at

press conferences, in public statements, and in legislative debates— to

prohibit written materials that offer “unique” perspectives.

     136. As a result of the Stop WOKE Act’s intent and ambiguity in its

use of the term “instruction,” faculty members—including Professor

Novoa—are being chilled from introducing written materials and guest

lecturers out of concern that the Stop WOKE Act prohibits them from so

doing.

     137. This chilling effect has considerable ramifications for faculty

members and students alike because it threatens critical pedagogical tools.

In order to confront viewpoints some may consider odious, faculty and

students alike must be able to evaluate arguments that may be best

articulated by primary source documents, unobjective argument in support



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of a prohibited concept, or a guest speaker who resolutely believes and

endorses a prohibited viewpoint.

III. The Stop WOKE Act Infringes on Plaintiffs’ Constitutional
     Rights.

        A.    Professor Novoa’s Instruction of Course Materials
              and Classroom Discussions Would Violate the Stop
              WOKE Act.

        138. Professor Novoa immigrated to the United States in 1989 from

Argentina—which had been governed by a military junta between 1976 and

1983.

        139. Professor Novoa earned the equivalent of a bachelor’s degree

from the University of Buenos Aires in 1987. She was in the process of

obtaining a master’s degree from the Instituto Torcuato Di Tella in 1989

when she was admitted to the doctoral program at University of California,

San Diego, where she earned a master’s degree and also earned her Ph.D. in

History in 1998.

        140. In 2001, Professor Novoa first began teaching at University of

South Florida.

        141. After a brief visiting position teaching at Lehigh University,

Professor Novoa resumed her appointment as Assistant Professor at USF in

2005.




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      142. Since 2005, Professor Novoa has continuously served on USF’s

faculty.

      143. Professor Novoa’s expertise covers, among other things, race

and gender in Latin America, the history of science and Darwinism in Latin

America, Latin American film, modern Argentine society and history, and

global history.

      144. Professor Novoa has co-authored two books: ¡Darwinistas! The

Creation of Evolutionary Thought in Argentina, 1870–1910, published in

2012, and From Man to Ape: Darwinism in Argentina, 1870–1920,

published in 2010.

      145. As described more fully below, because Professor Novoa is a

cultural historian by training, all of her courses deal with modern culture,

race, ethnicity, racism, gender, and race in one way or another.

      146. Consequently, in analyzing any culture in the nineteenth and

twentieth centuries she must “advance” concepts prohibited by the Stop

WOKE Act.

      147. Professor Novoa regularly teaches undergraduate or graduate-

level classes at USF, including:

            (a)   Science in Cultural Context—introducing students to
                  science studies through engagement with scientific texts
                  considered from a variety of historical, philosophical, and
                  cultural views;


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            (b)   History of Sports—analyzing the development of
                  modern sports in the Americas, including discussion of
                  the meaning of sports in modern culture from the end of
                  the nineteenth century to globalization; and

            (c)   Modern Latin America—exploring how students’
                  worldviews are shaped by personal values, identity,
                  cultural rules, and biases as they explore the foundation of
                  Latin American societies defined by social inequity,
                  poverty, racism, and violence, and review how
                  intellectuals and artists reflected on national identity.

      148. Since early July 2022, Professor Novoa has been reviewing her

syllabi from each of her courses to determine if the Stop WOKE Act

prohibits any assigned materials or lecture topics.

      149. Professor Novoa has found several assigned readings and

lecture topics that must be removed to comply with the Stop WOKE Act.

      150. Without judicial intervention, Professor Novoa will be forced to

remove assigned readings and lecture topics from her courses to comply

with the Stop WOKE Act.

      151. The Stop WOKE Act chills Professor Novoa’s ability to discuss

the subjects of each of these classes, as the content of her lectures and class

materials violate the Stop WOKE Act.




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       B.   Professor Novoa’s Instruction in Her Science in
            Cultural Context Course and Its Assigned Materials
            Violate the Stop Woke Act.

       152. Professor Novoa has taught Science in Cultural Context at

USF since 2020. She expects to teach the class during the Spring 2023

semester.

       153. Registration for Spring 2023 courses opens to undergraduate

USF students on October 31, 2022. As discussed in greater detail below,

Plaintiff Rechek intends to enroll in Professor Novoa’s Science in Cultural

Context class.

       154. To prepare this course for the Spring 2023 semester, Professor

Novoa is currently designing the course and selecting the materials for use

in the class. This process is conducted, in part, through a graduate-level

course in which graduate students and Professor Novoa discuss the

concepts covered in the planned Science in Cultural Context course.

       155. Due to the Stop WOKE Act, Professor Novoa must remove

materials she assigned in previous iterations of the course and revise her

lecture topics accordingly.

       156. Professor Novoa has determined that her instruction in

previous iterations of the course, if repeated, would violate the Stop WOKE

Act.



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      157. The Science in Cultural Context course is a general education

course satisfying mandatory curricular requirements for earning an

undergraduate degree.

      158. In Science in Cultural Context, Professor Novoa teaches

students about the historical development of science as a source of

authoritative knowledge, with the goal of the class being to “understand the

complicated ways in which science and the cultures in which it is embedded

interact and shape each other.”

      159. This course discusses race and the way in which Darwin’s

theory of natural selection was used by individuals such as Herbert Spencer

to “promote” Social Darwinism—effectively using “scientific processes” to

justify the perceived inferiority of indigenous peoples vis-à-vis European

society.

      160. Professor Novoa also teaches that the history of science is

replete with examples of individuals’ national origin, color, or race

determining their “status as . . . privileged[.]”

      161. For example, Professor Novoa will assign her book, From Man

to Ape: Darwinism in Argentina, 1870–1920, in which she and her co-

author “propose to study the vibrant scientific interaction between Europe

and Latin America from the perspective of the latter. On the whole,



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treatments of this relationship tend to assume a strict vertical hierarchy in

the flow of scientific knowledge, relegating Latin American scientists to the

status of derivative thinkers” (emphasis added).

      162. As this quote from her book makes clear, Professor Novoa

“advances” the concept that a person’s “status as . . . privileged . . . is

necessarily determined by his or her race, color, [or] national origin” in

violation of Florida Statutes § 1000.05(4)(a)(3).

      163. Professor Novoa’s From Man to Ape: Darwinism in Argentina,

1870-1920 is an academic work that is pedagogically relevant to the Science

in Cultural Context course.

      164. In assigning her book, Professor Novoa necessarily endorses the

viewpoints she advances and promotes in the book.

      165. But for the Stop WOKE Act and its enforcement penalties,

Professor Novoa would assign and provide “instruction” on From Man to

Ape: Darwinism in Argentina, 1870–1920 in the Science in Cultural

Context course.

      166. In the class, Professor Novoa also assigns a book by Nancy

Stepan, Picturing Tropical Nature, in which Stepan argues that American

and European intellectuals created the concept of “tropical” and examines

the impact of this construction on modern culture.



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      167. Picturing Tropical Nature is an academic work that is

pedagogically relevant to the Science in Cultural Context course.

      168. In Picturing Tropical Nature, Stepan argues that “our idea of

tropical nature as a particular kind of place or space, with its own

characteristic ensembles of plants and animals . . . is fundamentally a

modern one, belonging, that is, to our post-Enlightenment era.”

      169. Stepan focuses on “three areas of knowledge [that] were

especially important to the emerging definition of tropical nature in

European thought”: (1) natural history, (2) the new human sciences, and

(3) medicine.

      170. Stepan describes the “new human sciences” as “aimed at

ordering all varieties of humankind into a single natural hierarchy of

difference and similarity. It was in the new anthropology that racial

differences between human groups became a chief means by which the

human world was mapped.”

      171. In the book, Stepan “advances” the concept that a person’s

“status as . . . privileged . . . is necessarily determined by his or her race [or]

color[]” in certain cultures.




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     172. In engaging students in discussion, reflection, and debate,

Professor Novoa intends to “advance” the arguments made in Picturing

Tropical Nature that violate the Stop WOKE Act as described above.

     173. But for the Stop WOKE Act and its enforcement penalties,

Professor Novoa would again assign and provide “instruction” on Picturing

Tropical Nature in the Science in Cultural Context course.

     C.    Professor Novoa’s Instruction in Her History of
           Sports Course and Its Assigned Materials Violate the
           Stop WOKE Act.

     174. Professor Novoa has taught History of Sports from

National to Global Contexts each year since 2015 and is expected to

offer it again this coming academic year.

     175. “History of Sports” is one of the most popular history courses

offered by Professor Novoa’s department.

     176. In the class, Professor Novoa has historically assigned an

academic article by Adrian Burgos, Jr., Left Out: Afro-Latinos, Black

Baseball, and the Revision of Baseball’s Racial History (Left Out).

     177. Left Out argues that the historical narrative of racial integration

in Major League Baseball frames “well-intentioned white folks” as the

benevolent actors who ended segregation. It argues that popular historical

narratives focus on players who did not complain about segregation, as this



                                     44
narrative allows white people to avoid feeling guilt or responsibility for Jim

Crow. Left Out does so by contrasting the outrage at the “snubbing” of Buck

O’Neil from the National Baseball Hall of Fame against the “more muted

reaction” to the omission of Afro-Latino Orestes ‘Minnie’ Miñoso, arguing

that the “popular narratives about black baseball history” ultimately

“minimize[] the impact on, and contributions of, Afro-Latinos.”

      178. Left Out “advances,” “promotes,” or “espouses” several

viewpoints prohibited by the Stop WOKE Act:

            (a)   In arguing that figures like Buck O’Neil are elevated in
                  discourse about segregation because they offer
                  “absolution” to (and “assuage the guilt” of) white people,
                  Left Out “promotes” or “advances” the concept, prohibited
                  by Florida Statutes § 1000.05(4)(a)(7), that a person
                  “bears personal responsibility for and must feel guilt [or]
                  anguish . . . because of actions, in which the person played
                  no part, committed in the past by other members of the
                  same race, color, [or] national origin[.]”

            (b)   In arguing that “revisionist history” casts Miñoso as “the
                  foreign Latino [perceived] as having traveled a less
                  precarious path, due primarily to his Cuban ethnicity,”
                  Left Out “advances” the viewpoint, prohibited by Florida
                  Statutes § 1000.05(4)(a)(3), that Miñoso’s “status as . . .
                  privileged is necessarily determined by his . . . race [or]
                  national origin[.]”

            (c)   In arguing that Afro-Latino players are not “recognized as
                  black, due to their origins from different” nations, Left
                  Out violates Florida Statutes § 1000.05(4)(a)(3) because it
                  “promotes” the concept that a person’s “status as . . .
                  oppressed is necessarily determined by his or her . . .
                  national origin.”


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            (d)   In rejecting the “understanding of integration [of
                  baseball] as a redemption . . . enacted by whites” and
                  endorsing an analysis that “invalidates the invocation of
                  white privilege . . . while seeking absolution for the
                  wrongs of a segregated society viewed as existing in only
                  the distant past,” Left Out violates Florida Statutes
                  § 1000.05(4)(a)(3) because it “promotes” the concept that
                  a person’s “status as . . . privileged . . . is necessarily
                  determined by his or her race [or] color[.]”

      179. In her teaching, Professor Novoa advances concepts in Left Out.

      180. In her lectures, Professor Novoa uses Left Out to advance the

arguement that Afro-Latino baseball players, despite coming from different

backgrounds and cultures, were reduced to their perceived racial identity.

In so doing, Professor Novoa provides “endorsement” of the concept,

prohibited by Florida Statutes § 1000.05(4)(a)(3), that a person’s “status as

. . . oppressed is necessarily determined by his or her race [or] color[.]”

      181. Left Out is pedagogically relevant to the course because it offers

an argument as to the role race and national origin played in the color

barrier and how its elimination is perceived today.

      182. But for the Stop WOKE Act and its enforcement penalties,

Professor Novoa would again assign and provide “instruction” on Left Out

in the History of Sports course.




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      183. In her History of Sports course, Professor Novoa also assigns a

reading by Peter Dreier, Jackie Robinson’s Legacy: Baseball, Race, and

Politics.

      184. In Jackie Robinson’s Legacy, Dreier argues that despite making

progress on racial issues, the United States remains segregated by race.

After highlighting statistics supporting the argument that America largely

remains segregated by race, Dreier writes:

            Even when black people move to the suburbs, they
            are likely to live in segregated areas—not because
            they prefer to do so, but because of persistent
            (though subtle) racial bias by banks and real estate
            brokers. As a result of residential segregation, our
            public schools are still segregated by race as well as
            income. Blacks and Latinos still feel the sting of
            discrimination in the workplace and by the police
            and the criminal justice system.

      185. Dreier’s Jackie Robinson’s Legacy also posits that the “essence

of America’s troubled race relations” is that “corporate America has learned

to live with affirmative action and laws against racial discrimination, but it

steadfastly opposes policies to promote full employment, universal health

care, and affordable housing for all”—policies that “challenge the

foundation of the business elite’s power and profits.”

      186. In teaching this class, Professor Novoa has historically

advanced arguments in Jackie Robinson’s Legacy.



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      187. If she continued to teach it in that manner, Professor Novoa’s

use of Dreier’s Jackie Robinson’s Legacy would violate Florida Statutes

§ 1000.05(4)(a)(3) in that it “promotes” or “advances” the concept that a

person’s “status as . . . privileged . . . is necessarily determined by his or her

race [or] color[.]”

      188. Jackie Robinson’s Legacy is pedagogically relevant to the class

because it covers the topic of race in baseball.

      189. In engaging students in discussion, reflection, and debate,

Professor Novoa intends to “advance” the arguments made in Jackie

Robinson’s Legacy that violate the Stop WOKE Act as described above.

      190. But for the Stop WOKE Act and its enforcement penalties,

Professor Novoa would again assign and provide “instruction” on Jackie

Robinson’s Legacy in the History of Sports course.

      191. In her History of Sports course, Professor Novoa also assigns a

book by Gerald R. Gems, The Athletic Crusade, Sports and American

Cultural Imperialism.

      192. In The Athletic Crusade, Sports and American Cultural

Imperialism, Gems argues that modern American sports are the product of

American imperialism.




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      193. Gems argues that white Americans have historically been

privileged to the detriment of non-white groups (which Gems refers to as

“subordinate groups”), and that sports have perpetuated the privileged

status of whites, while also giving “subordinate groups” the opportunity to

“challenge whiteness, Social Darwinism, and cultural hegemony by

establishing their own physical prowess, claiming a measure of esteem, and

creating a greater sense of national identity.”

      194. In Novoa’s teaching of The Athletic Crusade, Sports and

American Cultural Imperialism, she violates Florida Statutes

§ 1000.05(4)(a)(3) by promoting or advancing the concept that a person’s

“status as . . . privileged . . . is necessarily determined by his or her race [or]

color[.]”

      195. The Athletic Crusade, Sports and American Cultural

Imperialism is pedagogically relevant to the class because it discusses the

role American-dominated sports play in other countries.

      196. But for the Stop WOKE Act and its enforcement penalties,

Professor Novoa would again assign and provide “instruction” on The

Athletic Crusade, Sports and American Cultural Imperialism in the

History of Sports course.




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     D.    Professor Novoa’s Instruction in Her Modern Latin
           America Course and Its Assigned Materials Violate
           the Stop WOKE Act.

     197. In Modern Latin America, Professor Novoa teaches history

of “oppression” of certain groups by other, more “privileged” groups.

     198. Professor Novoa regularly teaches Modern Latin America about

“[t]he period that followed the end of the independence movements [that]

. . . set the foundation of societies defined by social inequality, poverty,

racism, and violence.”

     199. In Professor Novoa’s first module, “From Colonies to Nations,”

she covers the clashes of civilizations and subsequent subjugations of

conquered peoples that characterized the colonial period using texts such

as “Civilization and Barbarism; Views of Latin America, 1810–1860” and

“Race in Latin America.”

     200. In Professor Novoa’s second module, “The Crisis of the Liberal

Order & New Revolutionary Cycle,” she discusses how societal tensions

which resulted from colonialism caused violent revolutions.

     201. In Professor Novoa’s third module, “State Terrorism,

Neoliberalism & Globalization,” she explores how socioeconomic dynamics

that exist throughout Latin America today reflect decisions made to

confront uncomfortable aspects of these legacies.



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      202. In this course, Professor Novoa also teaches about the concept

of collective guilt.

      203. In one reading entitled Collective Guilt and the Crucifixion by

Geoffrey Turner, students learn that the “idea of collective guilt . . . asks us

to believe that a person may share the guilt of others who have committed a

crime by being a member of the same ‘collective’, the same social group.”

      204. Collective Guilt and the Crucifixion and the concept of

collective guilt are pedagogically relevant to Professor Novoa’s course

because they help provide context for Modern Latin America societies.

      205. In the course of her teaching on collective guilt, Professor

Novoa must “advance” the concept that a person’s “status as . . . privileged

. . . is necessarily determined by his or her race [or] color[]” in certain

cultures to explain how societies have experienced collective guilt based on

race, color, and national origin.

      206. Similarly, Professor Novoa’s teaching on collective guilt

“advances” the concept that “[a] person, by virtue of his or her race, color,

sex, or national origin, bears personal responsibility for and must feel guilt,

anguish, or other forms of psychological distress because of actions, in

which the person played no part, committed in the past by other members

of the same race, color, national origin, or sex[.]”



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      207. As an example, Professor Novoa teaches about the case of

Damiana-Kryygi, an indigenous member of the Aché community, an

indigenous people of Paraguay. A group of European explorers killed

Damiana-Kryygi’s parents, kidnapped her as a small child, and took her to

live in Buenos Aires, Argentina, where she was a maid of a famous

physician. After she died, Damiana-Kryygi’s head was severed and sent to

Berlin for phrenological and other pseudoscientific studies because it was

believed that her “race” was extinguishing.

      208. Recently, the descendants of the Aché sued the museums for the

return of Damiana-Kryygi’s head and other remains to give them proper

burial.

      209. Professor Novoa teaches about Damiana-Kryygi and speaks

about the collective responsibility that Argentina had in the treatment and

extermination of indigenous peoples.

      210. Professor Novoa uses Damiana-Kryygi’s story to illustrate the

dangers of racism, but the Stop WOKE Act prohibits her from stating that

race continues to play a role in establishing social order in Argentine

society.

      211. In teaching this example, Professor Novoa “advances” the idea

that, by virtue of her Argentine national origin, she “bears personal



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responsibility for and must feel guilt, anguish, or other forms of

psychological distress because of actions, in which [she] played no part,

committed in the past by other members of the same . . . national origin[.]”

      212. As this example makes clear, the Stop WOKE Act prohibits

Professor Novoa from advancing the pedagogically relevant concept of

collective guilt as a part of her course instruction.

      213. Professor Novoa teaches this course on a rotation every year

and a half.

      214. But for the Stop WOKE Act and its enforcement penalties,

Professor Novoa would again assign and provide “instruction” on Collective

Guilt and the Crucifixion and on Damiana-Kryygi’s story in the Modern

Latin America course.

      E.      If Not Enjoined, the Stop WOKE Act Prohibits
              Professor Novoa’s Instruction and Jeopardizes USF
              Funding.

      215. Professor Novoa intends to engage in expressive activity

proscribed by the Stop WOKE Act.

      216. The State of Florida, Board of Governors, and USF intend to

enforce the law, violations of which carry severe consequences for Professor

Novoa, her colleagues, and her institution.




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      217. Because Professor Novoa cannot determine whether (a) her

teaching will, as USF’s guidance cautions, be interpreted as “uninfluenced

by [her] emotions”; (b) her discussions or course materials will not be

interpreted by a student as showing “favoritism, approval, or personal bias

in favor of” a given concept; or (c) whether her discussions or course

materials will be interpreted to “endorse” a given concept, Professor Novoa

will be forced to choose between teaching her students to the best of her

abilities or face catastrophic—and collective—punishment for herself, her

colleagues, and her institution.

      218. Given Professor Novoa’s commitment to teaching her students

about the subject matter of her assigned courses and given the Defendants’

commitment to quashing and censoring these same concepts, there is no

question that:

            (a)   Much of Professor Novoa’s teaching implicates the Stop
                  WOKE Act; and

            (b)   The Defendants will discipline Professor Novoa and USF
                  if she teaches the same subject matter she has taught in
                  prior years and intends to teach this school year and in
                  coming years.

      219. A faculty member of ordinary firmness would be chilled from

teaching the material for fear the Stop WOKE Act will be enforced against

them and their institution.



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      220. Florida’s enactment, implementation, and preparations to

enforce the Stop WOKE Act have caused and, unless enjoined, will continue

to cause irreparable harm to the constitutional rights of Professor Novoa

under the First and Fourteenth Amendments.

      221. Specifically, Professor Novoa will be forced to remove all

assigned reading materials that “promote,” “advance,” or otherwise support

any concept prohibited by the Stop WOKE Act, such as From Man to Ape:

Darwinism in Argentina, 187–1920; Picturing Tropical Nature; Left Out;

Jackie Robinson’s Legacy: Baseball, Race, and Politics; The Athletic

Crusade, Sports and American Cultural Imperialism; and Collective Guilt

and the Crucifixion.

      222. Professor Novoa will also be forced to revise her lectures to

remove any subject matter that would lead her to “promote” or “advance” a

concept prohibited by the Stop WOKE Act, such as discussing the role of

science in creating societies where an individual’s race established their

place in a social order, the role of racism in modern baseball, the roots of

racism in Latin America, and the phenomena of collective guilt in modern

cultures such as Argentina and the United States.




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      223. Professor Novoa will also be forced to self-censor during

debates amongst students, prohibiting her from engaging in the free

exchange of ideas that is the hallmark of a successful debate.

      224. This chilling effect is consistent with other contemporaneous

reports from Florida’s public universities and colleges.

      225. For example, the president of St. Petersburg College candidly

told a journalist that the law had already had a chilling effect on faculty,

“especially those who teach history and American government,” who are in

a “tough spot” and asking whether they should “scratch [material] out of

the books” used in their classes.

      F.    The Stop WOKE Act Is Currently Imposing the “Pall of
            Orthodoxy” on Rechek and Members of the First
            Amendment Forum.

      226. When registration for the Spring 2023 semester opens on

October 31, 2022, Plaintiff Rechek intends to enroll in Professor Novoa’s

Science in Cultural Context class.

      227. As adults, college students are free to consider the views

advanced by Professor Novoa and the materials in her courses and decide

for themselves whether they have merit.

      228. Rechek is an adult capable of determining for himself whether

the viewpoints advanced in Professor Novoa’s class are defensible.



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        229. To know whether the viewpoints advanced in Professor Novoa’s

class are defensible, Rechek must first have an opportunity to encounter

them.

        230. Professor Novoa is a willing speaker and Rechek is a willing

listener. They desire to engage in academic discussion concerning topics

prohibited by the Stop WOKE Act in the Science in Cultural Context

course.

        231. As students enrolled at USF, Rechek and the members of the

First Amendment Forum benefit from a learning environment in which

academic freedom is uninhibited by the “pall of orthodoxy.”

        232. Other members of the First Amendment Forum are also

interested in taking Professor Novoa’s courses, as well as other courses

offered by USF, free from the censorship imposed by the Stop WOKE Act.

        233. The First Amendment Forum exists to protect and advance

access to civil discussions concerning matters of public and academic

concern, recognizing that the academic value of the First Amendment is

crucial at diverse institutions like USF.

        234. The rights of the members of the First Amendment Forum are

in jeopardy because the Stop WOKE Act currently imposes an express “pall




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of orthodoxy” over the courses and lectures available to them as students

enrolled at USF.

      235. The interests that the First Amendment Forum seeks to

protect—access to information and the ability to engage in a broad range of

discussion, unfettered by the “pall of orthodoxy,” about matters of scholarly

and public concern—are germane to its purpose. Its members cannot

engage in a full and frank discussion of contested matters—race and its role

in both history and modern society are among the most fraught issues in

the United States—if they fear that a professor’s response to their questions

may be reported to administrators, an Inspector General, or state

lawmakers for disciplinary action.

      236. The First Amendment Forum’s asserted claims and requested

relief do not require the participation of its individual members.

      237. Florida’s enactment and implementation of the Stop WOKE Act

have caused and, unless enjoined, will continue to cause irreparable harm

to the constitutional rights of Plaintiffs Rechek and the First Amendment

Forum under the First Amendment.

      238. In particular, Plaintiffs Rechek and the First Amendment

Forum’s injuries under the Stop WOKE Act include:




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            (a)   The prohibition of engaging in a historical debate with
                  Professor Novoa on the topics prohibited by the Stop
                  WOKE Act;

            (b)   The Stop WOKE Act chills the ability of Rechek and other
                  students to access information unfettered by
                  ideologically-driven filters imposed by political officials,
                  causing harm that cannot be quantified or redressed
                  through monetary damages; and

            (c)   Rechek and other students fear that if they raise concepts
                  prohibited by the Stop WOKE Act during a class
                  discussion, they will risk contributing to or soliciting
                  “instruction” that violates the law and jeopardizes their
                  institution’s funding.

      239. The speech rights of each of the Plaintiffs has been chilled now

and will be chilled in the future, as the Stop WOKE Act infringes on their

First Amendment rights (and threatens Novoa’s livelihood) if they continue

to engage in the kind of expression forbidden by the law.

      240. Unless the actions, policies, and practices of Defendants are

enjoined by this Court, all of the Plaintiffs will suffer the continuing loss of

their constitutional rights.

      241. All of the Plaintiffs have suffered irreparable injury and

continue to suffer irreparable injury as a result of the Stop WOKE Act and

the Defendants’ efforts to enforce it.

      242. None of the Plaintiffs has a plain, adequate or complete remedy

to protect their constitutional rights and to redress the wrongs and illegal

acts complained of, other than preliminary and continuing injunctive relief.

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      243. None of the Plaintiffs has an adequate remedy at law.

Deprivation of rights guaranteed under the Constitution is an irreparable

injury for purposes of injunctive relief. In cases involving the loss of First

Amendment rights, such as in this case, damages are both inadequate and

unascertainable.

      244. The public interest would be served by the granting of

injunctive relief. In fact, the public interest is disserved by laws, such as the

Stop WOKE Act, which interfere with the public’s rights guaranteed under

the First and Fourteenth Amendments.

      245. Plaintiffs have retained FIRE and Benjamin, Aaronson, Edinger

& Patanzo, P.A. as their attorneys to represent them in this action.

Defendants are obligated to pay for the cost of Plaintiffs’ reasonable

attorney’s fees pursuant to 42 U.S.C. § 1988.


                           CAUSES OF ACTION

                        FIRST CAUSE OF ACTION
                    Violation of the First Amendment
                            (42 U.S.C. § 1983)
                  (All Plaintiffs against all Defendants)

      246. Plaintiffs re-allege and incorporate paragraphs 1-7 and 9-245 of

this Complaint.




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      247. At public universities and colleges, faculty members’ speech

related to scholarship or teaching, or classroom speech related to matters of

public concern, is protected by the First Amendment.

      248. Each of the concepts prohibited by the Stop WOKE Act

addresses matters of public concern, regardless of whether some find those

concepts uncomfortable, unwelcome, disagreeable, or offensive.

      249. In this way, the Stop WOKE Act prospectively limits the content

of faculty members’ speech—like Professor Novoa’s—about the prohibited

concepts in any class or other form of “instruction” at any public university

or college in Florida, no matter the subject matter of the class or even if the

“instruction” occurs outside the classroom.

      250. The Act also prospectively limits the protected right of students

(like Recheck and members of the First Amendment Forum) and the public

to receive information on matters of public concern.

      251. Thus, the Stop WOKE Act is a content-based and direct

regulation of speech at Florida’s institutions of higher education, triggering

strict scrutiny.

      252. Under strict scrutiny, content-based laws like the Stop WOKE

Act “are presumptively unconstitutional.” Reed v. Town of Gilbert, 576 U.S.

155, 163 (2015).



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      253. The Stop WOKE Act fails strict scrutiny.

      254. First, the State of Florida lacks any compelling interest for

restricting speech on the basis of content at the State’s public colleges and

universities.

      255. The State of Florida has no compelling interest in prohibiting

disfavored, politicized “concepts” from discussion in college classrooms.

      256. In adopting the Campus Free Expression Act, the State has

disclaimed any interest in shielding college students from ideas they might

find deeply offensive. Fla. Stat. §§ 1004.097(2)(f), (3)(f). Florida’s political

leaders cannot selectively abandon this principle when they themselves find

the ideas “uncomfortable, unwelcome, disagreeable, or offensive.” Fla. Stat.

§ 1004.097(2)(f).

      257. In contrast, by adopting the Stop WOKE Act, the State has

picked winners and losers in the “marketplace of ideas” as the statute

makes eight specific viewpoints off limits and unlawful.

      258. Second, the Stop Woke Act fails strict scrutiny because it is far

from being the least restrictive means of satisfying any state interest.

      259. For example, and without limitation, existing anti-

discrimination measures—provided by Title VI of the Civil Rights Act of

1964, Title IX of the Educational Amendments of 1972, the Florida



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Educational Equity Act, Florida Board of Governors Regulation 2.003, and

policies promulgated by each educational institution—adequately address

any state interest in preventing and remedying discriminatory harassment

or conduct.

      260. Further, terminating a faculty member for speaking out on

matters of public concern or defunding the institution that employs that

faculty member are not the least restrictive means of regulation.

      261. Third, the Stop WOKE Act also fails strict scrutiny because it is

not narrowly tailored. By targeting speech about a host of ideas on matters

of public concern, the Stop WOKE Act suppresses far more speech than

necessary to meet any state interest.

      262. The Stop WOKE Act fails strict scrutiny and is unconstitutional

under the First Amendment (as incorporated against the states under the

Fourteenth Amendment), both facially and as-applied to the Plaintiffs.

      263. Defendants are responsible for enforcing the Stop WOKE Act.

There exists a credible threat that they will enforce the Stop WOKE Act.

      264. As a direct and proximate result of the Stop WOKE Act and its

enforcement, Plaintiffs will suffer irreparable injury from the violation of

their constitutional rights.




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      265. Plaintiffs are entitled to preliminary and permanent injunctive

relief, including but not limited to, an order enjoining all Defendants from

enforcing the Stop WOKE Act.

      266. Unless Defendants are enjoined from enforcing the Stop WOKE

Act, Plaintiffs will continue suffering irreparable harm.

      267. Plaintiffs have no other adequate remedy by which to prevent or

minimize the continuing irreparable harm to their rights under the First

and Fourteenth Amendments.

      268. Plaintiffs are also entitled to declaratory relief. An actual

controversy has arisen and now exists between Plaintiffs and Defendants

concerning their rights under the United States Constitution.

      269. Plaintiffs desire a judicial determination of their First

Amendment rights and legal relations against Defendants as they pertain to

their rights to speak or to receive information unfettered by the “pall of

orthodoxy” imposed by legislative decree.

      270. Without declaratory and injunctive relief from this Court,

Defendants’ unconstitutional actions will continue, and Plaintiffs will suffer

irreparable harm indefinitely.




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                      SECOND CAUSE OF ACTION
                   Violation of the First Amendment—
                        Viewpoint Discrimination
                            (42 U.S.C. § 1983)
                  (Prof. Novoa against all Defendants)

     271. Plaintiffs re-allege and incorporate paragraphs 1-7 and 9-245 of

this Complaint.

     272. At public universities and colleges, faculty members’ speech

related to scholarship or teaching, or classroom speech related to matters of

public concern, is protected by the First Amendment. Demers v. Austin,

746 F.3d 402 (9th Cir. 2014); Meriwether v. Hartop, 992 F.3d 492 (6th Cir.

2021).

     273. Each of the concepts prohibited by the Stop WOKE Act

addresses matters of public concern, regardless of whether some find those

concepts uncomfortable, unwelcome, disagreeable, or offensive.

     274. The Stop WOKE Act’s prohibition against “endorsement” of a

concept is viewpoint-discriminatory and therefore, presumptively

unconstitutional. In particular, the Act prohibits those viewpoints which

advocate, endorse, or advance the eight suspect categories of ideas.

     275. Because it is viewpoint-discriminatory, the prohibition limits

classroom discussion, depriving faculty—including Professor Novoa—of

important pedagogical tools in classroom teaching, including the ability to


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feign a position to encourage discussion and critical thinking, such as

devil’s advocacy or Socratic dialogue.

      276. The Stop WOKE Act’s requirement that prohibited concepts be

discussed only in an “objective manner without endorsement” is viewpoint-

discriminatory and therefore, presumptively unconstitutional.

      277. The Stop WOKE Act’s “objective manner without endorsement”

requirement fails strict scrutiny.

      278. The Stop WOKE Act’s higher education provisions do not

advance, nor are they narrowly tailored to serve, any compelling interest.

      279. Professor Novoa intends to engage in conduct proscribed by the

Stop WOKE Act. Unless it is enjoined, the Stop WOKE Act requires

Professor Novoa to revise curriculum for three of her classes: (1) Science in

Cultural Context; (2) History of Sports; and (3) Modern Latin America.

      280. Unless the Stop WOKE Act is enjoined, Professor Novoa will be

precluded from debating and interacting with her students with regard to

the prohibited concepts and ideas which make up the core of her

curriculum.

      281. Defendants are responsible for enforcing the Stop WOKE Act.

There exists a credible threat that they will enforce the Stop WOKE Act.




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      282. Professor Novoa is entitled to preliminary and permanent

injunctive relief, including but not limited to, an order enjoining all

Defendants from enforcing the Stop WOKE Act.

      283. Unless Defendants are enjoined from enforcing the Stop WOKE

Act, Professor Novoa will continue suffering irreparable harm.

      284. Professor Novoa is also entitled to a declaration under 28 U.S.C.

§ 2201 that the Stop WOKE Act unlawfully favors one viewpoint and

violates the First and Fourteenth Amendments to the United States

Constitution.

      285. Without declaratory and injunctive relief from this Court,

Defendants’ viewpoint discrimination against Professor Novoa’s freedom of

speech will continue, and Professor Novoa will suffer irreparable harm

indefinitely.


                     THIRD CAUSE OF ACTION
           Violation of First Amendment—Prior Restraint
                          (42 U.S.C. § 1983)
                (Prof. Novoa against all Defendants)

      286. Plaintiffs re-allege and incorporate paragraphs 1-7, 9-245, and

247-249 of this Complaint.

      287. The Stop WOKE Act is an unconstitutional blanket restriction

on college and university faculty’s speech on matters of public concern.



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United States v. Nat’l Treasury Emps. Union, 513 U.S. 454 (1995); Barrett

v. Thomas, 649 F.2d 1193 (5th Cir. 1981).

      288. The Stop WOKE Act imposes a legislative prior restraint on

faculty like Professor Novoa before judicial review of particular speech and

without preserving the status quo, all in violation of Freedman v. State of

Md., 380 U.S. 51 (1965).

      289. Prior restraints on speech are “the most serious and the least

tolerable infringement on” freedom of expression. Neb. Press Ass’n v.

Stuart, 427 U.S. 539, 559 (1976).

      290. The Stop WOKE Act restricts faculty before speaking by

prohibiting them from speaking in a way “that espouses, promotes,

advances, inculcates, or compels [any] student . . . to believe” one of the

prohibited issues stated in the Act, even though each of those prohibited

issues bear on a matter of public concern.

      291. By restricting faculty speech on those issues to “objective”

speech, the Act also restricts faculty before speaking on campus to only

those viewpoints on matters of public concern approved by the State.

      292. A blanket prior restraint on faculty speaking on matters of

public concern cannot survive unless it “furthers some vital government




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end by a means that is least restrictive” of free speech. Barrett, 649 F.2d at

1200 (quotations omitted).

      293. Defendants can point to no vital government end that requires

faculty to refrain from speaking out about the prohibited topics of public

concern in the way the Stop WOKE Act requires them to. In essence, the

Stop WOKE Act demands faculty “toe the prescribed political line.” Id.

      294. The impact of the speech prospectively limited by the Stop

WOKE Act does not outweigh the interests in free speech and debate of the

vast number of students and faculty (both current and future) at Florida’s

institutions of higher education to engage in or hear such speech.

      295. Students and faculty have a well-established interest in

preserving the classroom as a marketplace of ideas unfettered by the

authoritative selection of Florida’s political leaders.

      296. In adopting the Campus Free Expression Act, the State has

recognized students’ unfettered right to access ideas and opinions. Fla. Stat.

§ 1004.097(2)(f), (3)(a), (3)(f).

      297. These interests do not only inure to the benefit of Professor

Novoa or faculty, but also include students and the the broader public, as

the right of unfettered discourse “is of transcendent value to all of us and

not merely to the teachers concerned.” Keyishian, 385 U.S. at 603.



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      298. To the contrary, the Stop WOKE Act’s limits on teaching

undermine the university’s “chief mission” to “equip students to examine

arguments critically and, perhaps even more importantly, to prepare young

citizens to participate in the civic and political life of our democratic

republic.” Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1128 (11th Cir.

2022).

      299. Unless it is enjoined, the Stop WOKE Act will force Professor

Novoa to refrain from speaking about those prohibited matters of public

concern.

      300. Defendants are responsible for enforcing the Stop WOKE Act.

There exists a credible threat that they will enforce the Stop WOKE Act.

      301. Professor Novoa is entitled to preliminary and permanent

injunctive relief, including but not limited to, an order enjoining

Defendants from enforcing the Stop WOKE Act.

      302. Unless Defendants are enjoined from enforcing the Stop WOKE

Act, Professor Novoa will continue suffering irreparable harm.

      303. Professor Novoa is also entitled to a declaration under 28 U.S.C.

§ 2201 that the Stop WOKE is a blanket prior restraint against the right to

speak on matters of public concern that violates the First and Fourteenth

Amendments to the United States Constitution.



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     304. Without declaratory and injunctive relief from this Court,

Defendants’ restriction of Professor Novoa’s freedom of speech will

continue, and Professor Novoa will suffer irreparable harm indefinitely.


                   FOURTH CAUSE OF ACTION
         Violation of First Amendment—Right to Receive
                      Information and Ideas
                         (42 U.S.C. § 1983)
     (Plaintiffs Rechek & First Amendment Forum against all
                            Defendants)

     305. Plaintiffs re-allege and incorporate paragraphs 1-7 and 9-245 of

this Complaint.

     306. As students enrolled in a public institution of higher education,

Rechek and the members of the First Amendment Forum have an interest

in learning and debating the views of the faculty members they pay to teach

them, including—but not limited to—those courses taught by Professor

Novoa.

     307. The First Amendment protects the right of university students

to “receive information and ideas.” Stanley v. Georgia, 394 U.S. 557, 564

(1969).

     308. The First Amendment protects the right—of Rechek and the

members of the First Amendment Forum—to access to information




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unfettered by a legislated “pall of orthodoxy.” Keyishian, 385 U.S. at 603

(1967).

      309. The interests of Plaintiffs Rechek and the members of the First

Amendment Forum are commensurate with the “chief mission” of the

university: “to equip students to examine arguments critically and, perhaps

even more importantly, to prepare young citizens to participate in the civic

and political life of our democratic republic.” Speech First, 32 F.4th at 1128.

      310. The Stop WOKE Act imposes a content-based, ideologically-

driven barrier to accessing information and ideas, declaring some ideas

permissible and the “endorsement” of others prohibited. Yet, “[u]nder the

First Amendment, there is no such thing as a false idea.” Gertz v. Robert

Welch, Inc., 418 U.S. 323, 339 (1974).

      311. The State of Florida lacks any compelling interest in enforcing

the Stop WOKE Act to suppress the flow of information and ideas on

matters of public concern to students in its public colleges and universities.

      312. Because the Act suppresses information and ideas on a broad

range of public issues, it is neither narrowly tailored nor the least restrictive

means for meeting any state interest.




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      313. In sum, the Stop WOKE Act is depriving and will keep depriving

Rechek and First Amendment Forum of their constitutional right to receive

information and ideas on matters of public concern.

      314. Defendants are responsible for enforcing the Stop WOKE Act.

There exists a credible threat that they will enforce the Stop WOKE Act.

      315. Rechek and First Amendment Forum are entitled to

preliminary and permanent injunctive relief, including but not limited to,

an order enjoining Defendants from enforcing the Stop WOKE Act.

      316. Unless Defendants are enjoined from enforcing the Stop WOKE

Act, Rechek and First Amendment Forum will continue suffering

irreparable harm.

      317. Rechek and First Amendment Forum are also entitled to a

declaration under 28 U.S.C. § 2201 that the Stop WOKE Act unlawfully

restricts their right to receive information and ideas on matters of public

concern and thus violates the First and Fourteenth Amendments to the

United States Constitution.

      318. Without declaratory and injunctive relief from this Court,

Defendants’ infringement on Rechek and First Amendment Forum’s First

Amendment rights will continue, and they will suffer irreparable harm

indefinitely.



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                     FIFTH CAUSE OF ACTION
      Violation of the First Amendment—Facial Overbreadth
                          (42 U.S.C. § 1983)
               (Prof. Novoa against all Defendants)

      319. Plaintiffs re-allege and incorporate paragraphs 1-7, 9-245, and

247-249 of this Complaint.

      320. The STOP Woke Act “prohibits a substantial amount of

protected expression.” Ashcroft v. Free Speech Coalition, 535 U.S. 234,

237 (2002).

      321. First, it prohibits a sweeping amount of protected speech

related to scholarship or teaching, or classroom speech over matters of

public concern. The First Amendment protects that speech regardless of

whether some find those concepts uncomfortable, unwelcome,

disagreeable, or offensive.

      322. What’s more, the Stop WOKE Act’s prohibition on any

“instruction that espouses, promotes, advances, inculcates, or compels

[any] student . . . to believe” a forbidden concept reaches a real and

substantial range of protected expression, including much of Professor

Novoa’s curriculum.

      323. First, in repeatedly referencing “[a] person” in the prohibited

concepts, the Stop WOKE Act reaches discussion of a concept in relation to



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any “person” and is not limited to a “student or employee”—language the

legislature had at its disposal and did not use—in the classroom. Thus, the

Stop WOKE Act restricts speech about potentially any person related to a

host of public issues beyond the campus boundaries—even though

“[s]peech on matters of public concern is . . . at the heart of the First

Amendment’s protection.” Snyder v. Phelps, 562 U.S. 443, 451–52 (2011)

(citation and internal quotation marks omitted).

      324. Second, in employing the operative terms “espouses, promotes,

advances, inculcates, or compels,” the Stop WOKE Act reaches any speech

which merely supports, furthers, contributes to the growth of, or simply

brings forward for consideration, even if that result is only an incidental

effect and not the express intent or purpose of the instruction.

      325. The Stop WOKE Act contains no definitions or other

meaningful limiting principles that might constrain these terms that

restrict a wide range of speech on matters of public concern. Nor does the

Act does not even seem to require that a faculty member to specifically

intend that his or her speech fulfill one or more of the enumerated

prohibitions.

      326. The requirement that each concept be discussed only in an

“objective” manner is no such limiting principle—the Act fails to define



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“objective.” At the same time, it is a content-based limitation on speech

reaching a real and substantial range of protected expression on matters of

public concern. Under this ill-defined requirement, even the teaching of

well-accepted ideas are censored by the Stop WOKE Act’s broad scope.

     327. The Stop WOKE Act serves no objective other than prohibiting

a substantial amount of protected expression. See United States v. Stevens,

559 U.S. 460, 473 (2010). This renders the Stop WOKE Act facially

unconstitutional, as the substantial protected expression the Act prohibits

is well beyond any possible “plainly legitimate sweep” of the Act. See

Virginia v. Hicks, 539 U.S. 113, 118–19 (2003) (quoting Broadrick v.

Oklahoma, 413 U.S. 601, 615 (1973)).

     328. The “likelihood that the statute’s very existence will inhibit free

expression” by “inhibiting the speech of third parties who are not before the

Court” also shows why the Stop WOKE Act is facially overbroad. Members

of City Council v. Taxpayers for Vincent, 466 U.S. 789, 799, 800 (1984).

These parties include the thousands of faculty members at Florida’s

colleges and universities who must consider self-censorship because of the

Stop WOKE Act’s sweeping prohibitions on matters of public concern.




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      329. The Court should preliminarily and permanently enjoin the

Stop WOKE Act because it is facially overbroad and chills a substantial

amount of protected speech.

      330. Defendants are responsible for enforcing the Stop WOKE Act.

There exists a credible threat that they will enforce the Stop WOKE Act.

      331. Unless Defendants are enjoined from enforcing the Stop WOKE

Act, Professor Novoa and other faculty will continue suffering irreparable

harm to their First Amendment rights.

      332. Professor Novoa is also entitled to a declaration under 28 U.S.C.

§ 2201 that the Stop WOKE Act is facially overbroad.

      333. Without declaratory and injunctive relief from this Court, the

chilling effects from the Act’s sweeping overbreadth will only deepen, and

exacerbate the irreparable harm suffered by Professor Novoa, university

faculty, and their students.


                      SIXTH CAUSE OF ACTION
                 Violation of Due Process—Vagueness
                           (42 U.S.C. § 1983)
                 (Prof. Novoa against all Defendants)

      334. Plaintiffs re-allege and incorporate paragraphs 1-7, 9-245, and

247-249 of this Complaint.




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      335. The Due Process Clause prohibits the State of Florida from

depriving “life, liberty, or property without due process of law.” U.S. Const.

amend. XIV, § 1.

      336. The Fourteenth Amendment is violated where a law “fails to

give ordinary people fair notice of the conduct it punishes,” or is so

standardless that it invites arbitrary enforcement.” Johnson v. United

States, 576 U.S. 591, 595 (2015). This is because a “fundamental principle”

of the American legal system is that laws “must give fair notice of conduct

that is forbidden or required.” FCC v. Fox TV Stations, Inc., 567 U.S. 239,

253 (2012).

      337. Avoiding vagueness is critical in laws affecting speech because

of the “obvious” potential for a “chilling effect on free speech.” Reno v.

ACLU, 521 U.S. 844, 871–72 (1997).

      338. The STOP Woke Act is void for vagueness because it infringes

on Plaintiffs’ constitutionally protected rights under the First Amendment

and provides inadequate notice of the conduct it purports to prohibit.

      339. The STOP Woke Act and the Board of Governors’ regulations

fail to define “objective manner without endorsement.”




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      340. Whether speech—particularly speech on hotly-contested issues

fraught with emotion—is “objective” is inherently vague and subject to the

interpretation of audiences inside and outside of the classroom.

      341. As evidenced by USF’s interpretation, the meaning of “objective

manner without endorsement” turns on the faculty member’s subjective

“emotions” and whether, in the eyes of others, their discussion suggests

“favoritism, approval, or personal bias.” As a result, faculty members’

exposure to disciplinary action—and their institution’s eligibility for tens of

millions of dollars in annual funding—turns on others’ perceptions of the

thoughts within their heads.

      342. This definition is buttressed by lawmakers’ express intent in

including the language: to prevent instructors from sharing their thoughts,

views, or interpretations of given material, events, theories, or concepts—

unless those thoughts, views, or interpretations affirm the state’s viewpoint.

      343. In other words, faculty members will be said to violate the law if

their classroom discussion (or, in the absence of a recording of the

discussion, a student’s recollection about or interpretation of what their

professor meant) is thought to have, in any way, introduced their “take” on

contested matters.




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      344. The vagueness inherent in the law renders faculty members

uncertain as to whether feigning a position—that is, engaging in devil’s

advocacy or Socratic dialogue, both important pedagogical tools used for

millennia by collegiate lecturers to spur discussion—violates the Stop

WOKE Act, or whether taking a position is only prohibited if a faculty

member subjectively believes in that position.

      345. The risk that discussions will be deemed unobjective is all the

more pronounced in light of the unfettered authority of state lawmakers to

declare that the law has been violated, risking a politicized and standardless

evaluation of classroom discussion.

      346. The Stop WOKE Act is also rendered unconstitutionally vague

because of the conflict between its authorization of “objective” discussion

and its prohibition of “instruction that espouses, promotes, advances,

inculcates, or compels [a] student . . . to believe” a prohibited concept, as

objective discussion itself has a tendency to “promote” or “advance” belief

in a given concept.

      347. The vagueness in the Stop WOKE Act is evidenced and

exacerbated by guidance issued by the state’s institutions of higher

education, including USF, conceding that the law is uncertain and warning

faculty that it reaches a wide range of lectures, materials, and speakers.



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      348. The Stop WOKE Act is also vague because of its conflict with

existing Florida law, the Campus Free Expression Act, which obligates

faculty to refrain from “shield[ing] students . . . from expressive activities”

on the basis that they may be “uncomfortable, unwelcome, disagreeable, or

offensive.” Fla. Stat. § 1004.097(2)(f), (3)(f).

      349. The resulting conflict—that faculty must shield students from

the Stop WOKE Act’s prohibited concepts because they are offensive, but

must also refuse to shield students from ideas because they may be

offensive—requires faculty to violate one law or the other.

      350. Because of the vagueness in the Stop WOKE Act and its conflict

with the Campus Free Expression Act, faculty are exposed to the possibility

of arbitrary and discriminatory enforcement.

      351. As a direct and proximate result of this unconstitutional

vagueness, Professor Novoa is being deprived of her constitutional rights.

      352. Defendants are responsible for enforcing the Stop WOKE Act.

There exists a credible threat that they will enforce the Stop WOKE Act.

      353. Professor Novoa is entitled to preliminary and permanent

injunctive relief, including but not limited to, an order enjoining

Defendants from enforcing the Stop WOKE Act.




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      354. Professor Novoa is also entitled to a declaration under 28 U.S.C.

§ 2201 that the Stop WOKE Act is unconstitutionally vague under the

Fourteenth Amendment.

      355. Without declaratory and injunctive relief from this Court, the

chilling effects from the Act’s sweeping overbreadth will only deepen, and

Professor Novoa will suffer irreparable harm indefinitely.


                   SEVENTH CAUSE OF ACTION
           Violation of the Campus Free Expression Act
                      (Fla. Stat. § 1004.097)
       (Plaintiff Rechek & First Amendment Forum against
                 Defendant USF Board of Trustees)

      356. Plaintiffs re-allege and incorporate paragraphs 1-7, 9-245, and

247-249 of this Complaint.

      357. The Campus Free Expression Act prohibits a public university

from denying students “access to, or observation of, ideas and opinions that

they may find uncomfortable, unwelcome, disagreeable, or offensive.” Fla.

Stat. §§ 1004.097(2)(f), (3)(f).

      358. The Campus Free Expression Act expressly includes “faculty

research, lectures, writings, and commentary” as among the sources of

information that may not be restricted. Fla. Stat. § 1004.097(3)(a).

      359. The Campus Free Expression Act expressly includes a right of

access to—and a right to engage in expression consisting of—“faculty


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research, lectures, writings, and commentary” without interference on the

basis that the ideas conveyed may be upsetting or offensive to others.

      360. The Stop WOKE Act and the steps taken by the University of

South Florida to implement its provisions are intended to shield students

from access to or observation of opinions, beliefs, or points of view on the

basis that their expression may make a student uncomfortable.

      361. Plaintiff Rechek and the members of the First Amendment

Forum are willing listeners who want to hear from a willing speaker. All

that stands in their way is the Stop WOKE Act and its implementation.

      362. Plaintiffs Rechek and the First Amendment Forum is entitled to

declaratory and injunctive relief from enforcement of the Stop WOKE Act

to inhibit access to “concepts” that may make him uncomfortable. Fla. Stat.

§§ 1004.097(4)(a); 1000.05(4)(a).

      363. As a direct and proximate result of Defendants’ actions as

described above, Rechek and First Amendment Forum are being deprived

of their rights under the Campus Free Expression Act. As a legal

consequence of Defendants’ violations of Plaintiffs’ Campus Free

Expression Act rights, which are irreparable injuries per se, Rechek and

First Amendment Forum are entitled to injunctive relief, including but not

limited to, an order enjoining Defendant USF from enforcing the Stop



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WOKE Act. Rechek and First Amendment Forum are also entitled to a

declaration that the Stop WOKE Act’s Amendments to the Florida Civil

Rights Act of 1992 unlawfully restrict their right to receive information and

violate the Campus Free Expression Act.

      364. The Campus Free Expression Act allows persons injured by its

violation to bring an action against “a public institution of higher

education” to obtain declaratory and injunctive relief. Fla. Stat.

§ 1004.097(4)(a).

      365. Plaintiffs Rechek and the First Amendment Forum is entitled to

an award of costs and reasonable attorney’s fees paid from nonstate funds.

Fla. Stat. § 1004.097(4)(a).

      366. Plaintiffs Rechek and First Amendment Forum have no

adequate legal, administrative, or other remedy by which to prevent or

minimize the continuing irreparable harm to their rights under the First

and Fourteenth Amendments and the Campus Free Expression Act.

      367. Without declaratory and injunctive relief from this Court,

Defendants’ unlawful actions will continue, and Plaintiffs Rechek and First

Amendment Forum will suffer irreparable harm indefinitely.




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                         PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs respectfully request that this Court enter

judgment against Defendants and issue the following forms of relief:

     A.    Declare that the provisions of Florida Statutes § 1000.05 added

by the Stop WOKE Act are facially unconstitutional under the First and

Fourteenth Amendments;

     B.    Declare that the provisions of Florida Statutes § 1000.05 added

by the Stop WOKE Act are unconstitutional under the First and Fourteenth

Amendments, as applied to Professor Novoa;

     C.    Declare that the provisions of Florida Statutes § 1000.05 added

by the Stop WOKE Act are unconstitutional under the First and Fourteenth

Amendments, as applied to Plaintiffs Rechek and the First Amendment

Forum;

     D.    Issue preliminary and permanent injunctive relief, without

bond, enjoining Defendants and their employees, agents, and successors in

office from enforcing the Stop WOKE Act against Plaintiffs;

     E.    Award reasonable attorney’s fees, expenses, and costs of

litigation under 42 U.S.C. § 1988 and other applicable law, including

Florida Statutes § 1004.097(4)(a); and




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     F.    Award such other relief as this Court deems just and proper.



DATED:     September 6, 2022

Respectfully submitted,

/s/ Greg H. Greubel        .                 /s/ Gary S. Edinger        .
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*Pro Hac Vice Motions Forthcoming

   Counsel for Plaintiffs Adriana Novoa, Sam Rechek, and the First
   Amendment Forum




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                   VERIFICATION OF ADRIANA NOVOA

      Pursuant to 28 U.S.C. § 1746, I, ADRIANA NOVOA, declare as

follows:

      1.       I am an Assistant Professor in the Department of History at the

University of South Florida and a plaintiff in this civil action.

      2.       I have read the foregoing Verified Complaint for Declaratory

and Injunctive Relief.

      3.       I have personal knowledge of the factual allegations in

paragraphs 10-13, 132, 136, 138-152, 154-218, 220-223, and 230 of the

Complaint and know them to be true.

      4.       With respect to the factual allegations in paragraphs 35-36 and

94-102 of the Complaint, which concern the University of South Florida but

of which I do not have personal knowledge, I believe them all to be true

based on my review of the statutes, policies, or guidance cited in those

allegations.

      I verify under penalty of perjury that the foregoing is true and correct

to the best of my knowledge.

Executed on September 6, 2022.

                                             _______________________
                                             Adriana Novoa




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DocuSign Envelope ID: 90F41597-3BF3-4F5C-8FD3-BB1E7F5EED47




                                   VERIFICATION OF SAMUEL RECHEK

                     Pursuant to 28 U.S.C. § 1746, I, SAMUEL RECHEK, declare as

            follows:

                     1.      I am a Plaintiff in the present case and a citizen of the United

            States of America.

                     2.      I am the president of the First Amendment Forum at University

            of South Florida (“First Amendment Forum”), a plaintiff in the present

            case.

                     3.      I have read the foregoing Verified Complaint for Declaratory

            and Injunctive Relief.

                     4.      I have personal knowledge of the factual allegations in

            paragraphs 14-17, 153, 226-235, and 237-238 of the Complaint, and know

            them to be true.

                     5.      I verify under penalty of perjury that the foregoing is true and

            correct to the best of my knowledge.

                     Executed on September 6, 2022.



                                                                  _______________________
                                                                  Samuel Rechek




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